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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                             CASE NO.: 1:04-CR-037-SPM

LATISHA CARTER,

     Defendant.
________________________________/

                      ORDER CONTINUING SENTENCING

      THIS CAUSE comes before the Court upon the “Unopposed Motion to

Continue Sentencing” (doc. 109) filed by the Government May 24, 2005, in which

defense counsel requests a continuance in order to arrange a psychological

evaluation of Defendant and permit her to continue her cooperation with the

Government. The motion is unopposed.

      For good cause shown, it is

      ORDERED AND ADJUDGED as follows:

      1.     The motion to continue (doc. 109) is hereby granted.

      2.     Sentencing is reset for Monday, July 11, 2005 at 1:30 pm at the
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             United States Courthouse in Gainesville, Florida.

       DONE AND ORDERED this twenty-fifth day of May, 2005.


                                   s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge

/pao
